              Case 22-11967-amc                        Doc         Filed 05/02/24 Entered 05/02/24 09:38:57                                 Desc Main
   Fill in this information to identify the case:                  Document      Page 1 of 7
Debtor 1                 TeNeka S. McDaniel
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Eastern District of Pennsylvania
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             2211967
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                      12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             9
                                                                                                   Court claim no. (if known): _______________________
  Wells Fargo Bank, N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                            06/01/2024
                                                                                                                                             _____________


                                                                                                  New total payment:
                                                                                                                                             704.10
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      5 ____
                                                                    ____ 0 ____
                                                                            5 ____
                                                                                2

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

             No
            ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
            
                for the change. If a statement is not attached, explain why:



                                           269.83
                Current escrow payment: $ _________________                                                                       221.96
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔ No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                     New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
              ✔ No
              
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
               Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
            TeNeka S. McDaniel                                                                   2211967
      Case 22-11967-amc                Doc Filed     05/02/24 Entered 05/02/24
            ________________________________________________________
      Debtor 1
            First Name       Middle Name     Last Name
                                                                          Case number (if09:38:57         Desc Main
                                                                                         known) ______________________

                                            Document           Page 2 of 7
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

     I am the creditor.
    ✔
     I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Angela M. Mills-Fowler
      ______________________________________________________________
      Signature
                                                                                      05/02/2024
                                                                                Date _______________




 Print:______________________________________________________________
        FOWLER,ANGELA M. MILLS                                                   VP Loan Documentation
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                  Street

            P.O. Box 1629
            _____________________________________________________________
            Address 2

             Minneapolis                             MN      55440-9790
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
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                                                 Document
                     UNITED STATES BANKRUPTCY COURT            Page 3 of 7

                                                  Eastern District of Pennsylvania


                                                   Chapter 13 No. 2211967
                                                   Judge: Ashely M. Chan

In re:
TeNeka S. McDaniel
                                          Debtor(s).

                                          CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before May 03, 2024 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                    TeNeka S. McDaniel
                                    5623 Musgrave Street

                                    Philadelphia PA 19144



                                   By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                    N/A




Debtor’s Attorney:                  By Court's CM/ECF system registered email address
                                    MICHAEL I. ASSAD
                                    Cibik Law, P.C.
                                    1500 Walnut St Ste 900

                                    Philadelphia PA 19102


                                    By Court's CM/ECF system registered email address
                                   N/A




Trustee:                            By Court's CM/ECF system registered email address
                                    KENNETH E. WEST
                                    Office of the Chapter 13 Standing Trustee
                                    1234 Market Street - Suite 1813

                                    Philadelphia PA 19107

                                                         _______________________________________________
                                                         /s/Angela M. Mills-Fowler
                                                           VP Loan Documentation
                                                           Wells Fargo Bank, N.A.
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                                                                                                                                             Page 2 of 3
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                                                                                             Loan Desc Main
                                                                                                  Number:
                                                      Document      Page 5 of 7
    Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $2,663.52. For the coming year, we expect the amount paid from escrow to be
$2,663.52.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                       New monthly
                                  06/22 - 05/23 08/22 - 07/23 06/23 - 04/24              06/24 - 05/25
                                                                                                                      # of               escrow
                                    (Actual)      (Actual)      (Actual)                  (Projected)
                                                                                                                     months              amount

Property taxes                            $838.48           $838.48           $544.52          $544.52        ÷         12       =           $45.38
Property insurance                      $1,962.00         $1,962.00         $2,119.00        $2,119.00        ÷         12       =          $176.58
Total taxes and insurance               $2,800.48         $2,800.48         $2,663.52        $2,663.52        ÷         12       =          $221.96
Escrow shortage                         $1,949.07             $0.00           $437.49            $0.00

Total escrow                            $4,749.55         $2,800.48          $3,101.01       $2,663.52                                      $221.96


Projected escrow account activity over the next 12 months
To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                  (Calculated in Part 4 - Escrow account projections
Lowest projected escrow balance April 2025                                      $615.15           table)

Minimum balance for the escrow account†                             -          $443.92


Escrow overage                                                      =           $171.23




†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance as allowed by state laws and/or the mortgage
contract. This account is set to a 2 month cash reserve amount. To calculate the cash reserve for the escrow account, we add the yearly escrow
payments, and divide by 6.
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                                                         Document      Page 6 of 7              Loan Number:



  Part 3 - Escrow account history
Escrow account activity from April 2023 to May 2024
                    Deposits to escrow                  Payments from escrow                                                      Escrow balance
   Date        Actual  Projected Difference         Actual   Projected Difference                 Description           Actual       Projected Difference
Apr 2023                                                                                  Starting Balance                 $58.46
May 2023        $204.21                                 $0.00                                                             $262.67

Jun 2023        $269.83      $233.37     $36.46         $0.00        $0.00       $0.00                                    $532.50      $933.53       -$401.03

Jul 2023        $269.83      $233.37     $36.46         $0.00        $0.00       $0.00                                    $802.33     $1,166.90      -$364.57

Aug 2023        $269.83      $233.37     $36.46         $0.00        $0.00       $0.00                                  $1,072.16     $1,400.27       -$328.11

Sep 2023        $269.83      $233.37     $36.46         $0.00        $0.00       $0.00                                  $1,341.99     $1,633.64       -$291.65

Oct 2023        $269.83      $233.37     $36.46         $0.00        $0.00       $0.00                                   $1,611.82    $1,867.01       -$255.19

Nov 2023        $269.83      $233.37     $36.46         $0.00        $0.00       $0.00                                  $1,881.65     $2,100.38       -$218.73

Dec 2023        $269.83      $233.37     $36.46         $0.00        $0.00       $0.00                                  $2,151.48     $2,333.75       -$182.27

Jan 2024        $269.83      $233.37     $36.46         $0.00        $0.00       $0.00                                  $2,421.31     $2,567.12       -$145.81

Feb 2024        $269.83      $233.37     $36.46         $0.00        $0.00       $0.00                                  $2,691.14    $2,800.49        -$109.35

Mar 2024        $269.83      $233.37     $36.46        $544.52     $838.48     -$293.96 PHILADELPHIA CITY               $2,416.45     $2,195.38       $221.07

Mar 2024          $0.00         $0.00     $0.00     $2,119.00        $0.00    $2,119.00 STATE FARM INS                    $297.45     $2,195.38     -$1,897.93

Apr 2024        $269.83      $233.37     $36.46         $0.00    $1,962.00    -$1,962.00 STATE FARM INS                   $567.28      $466.75        $100.53
(estimate)

May 2024        $269.83      $233.37     $36.46         $0.00        $0.00       $0.00                                    $837.11      $700.12        $136.99
(estimate)

Totals         $3,442.17   $2,800.44    $437.52     $2,663.52    $2,800.48     -$136.96


If the activity contains (estimate), then "deposits to" or "payments from" escrow or both are estimated amounts that have not actually occurred.



  Part 4 - Escrow account projections
Escrow account projections from June 2024 to May 2025
                                        What we
                Payments to             expect to                                                               Projected escrow       Balance required
Date              escrow                 pay out           Description                                              balance             in the account
May 2024                                                   Starting balance                                            $837.11                    $665.88
Jun 2024              $221.96                 $0.00                                                                   $1,059.07                   $887.84
Jul 2024              $221.96                 $0.00                                                                   $1,281.03               $1,109.80
Aug 2024              $221.96                 $0.00                                                                   $1,502.99               $1,331.76
Sep 2024              $221.96                 $0.00                                                                   $1,724.95               $1,553.72
Oct 2024              $221.96                 $0.00                                                                   $1,946.91               $1,775.68
Nov 2024              $221.96                 $0.00                                                                   $2,168.87               $1,997.64
Dec 2024              $221.96                 $0.00                                                                  $2,390.83                $2,219.60
Jan 2025              $221.96                 $0.00                                                                   $2,612.79               $2,441.56
Feb 2025              $221.96                 $0.00                                                                  $2,834.75                $2,663.52
Mar 2025              $221.96               $544.52        PHILADELPHIA CITY                                          $2,512.19               $2,340.96
Apr 2025              $221.96              $2,119.00       STATE FARM INS                                              $615.15                    $443.92
May 2025              $221.96                 $0.00                                                                    $837.11                    $665.88

Totals              $2,663.52              $2,663.52




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